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             Exhibit 1
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Case: 1:15-cv-06406 Document #: 1-1 Filed: 07/22/15 Page 5 of 21 PageID #:9
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Case: 1:15-cv-06406 Document #: 1-1 Filed: 07/22/15 Page 21 of 21 PageID #:25
